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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


TIMOTHY WILLIAMS,

       Petitioner,

v.                                                 CASE NO. 8:13-CV-2104-T-30MAP
                                               CRIM. CASE NO. 8:04-CR-367-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
________________________________/

                                          ORDER

       This matter is before the Court for consideration of Petitioner’s motion to vacate, set

aside, or correct an allegedly illegal sentence filed pro se pursuant to 28 U.S.C. § 2255 (CV

Dkt. 1), memorandum in support of the § 2255 motion (CV Dkt. 2), and motion to proceed

in this action in forma pauperis (CV Dkt. 4). A motion to vacate must be reviewed prior to

service on the United States. See Rule 4 of the Rules Governing § 2255 Cases. If the

“motion and the files and records of the case conclusively show that the prisoner is entitled

to no relief,” the motion is properly dismissed without a response from the United States. 28

U.S.C. § 2255(b). Upon consideration of the § 2255 motion and the record, the Court

concludes that the § 2255 motion must be dismissed.

                                     BACKGROUND

       Petitioner pleaded guilty to conspiracy to possess more than five kilograms of a

mixture containing cocaine with the intent to distribute, and aiding and abetting the
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possession of a firearm in furtherance of a drug trafficking crime (CR Dkts. 44, 46, 96).

Petitioner was sentenced to a 248-month term of imprisonment, to be followed by a 60 month

term of supervised release (CR Dkt. 96). Petitioner appealed his conviction and sentence.

The Eleventh Circuit Court of Appeals affirmed (CR Dkt. 180). Petitioner’s request for

collateral relief pursuant to 28 U.S.C. § 2255 was denied by this Court on January 30, 2008

(CR Dkt. 222); see Williams v. United States, Case No. 8:07-cv-996-T-30MAP (M.D. Fla.

2007).

                                        DISCUSSION

         Petitioner now returns to this Court seeking to vacate his sentence based upon Alleyne

v. United States, 133 S.Ct. 2151 (2013). “[A] second or successive [§ 2255] motion must be

certified as provided in section 2244 by a panel of the appropriate court of appeals.” 28

U.S.C. §2255(h). See also 28 U.S.C. § 2244(b)(3)(A). Because Petitioner has previously

sought collateral relief pursuant to § 2255, and he has not demonstrated that he has obtained

permission from the Eleventh Circuit to file a second or successive motion, this Court is

without jurisdiction to entertain the instant § 2255 motion. Darby v. Hawk-Sawyer, 405 F.3d

942, 944-45 (11th Cir. 2005). This case will, therefore, be dismissed without prejudice to

allow Petitioner the opportunity to seek said authorization.

         ACCORDINGLY, it is ORDERED that:

         1.     The motion to vacate, set aside, or correct an illegal sentence is DISMISSED,

without prejudice, for lack of jurisdiction (CV Dkt. 1). The Clerk is directed to terminate



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from pending status the § 2255 motion (CR Dkt. 230) filed in the corresponding criminal

case number 8:04-CR-367-T-30MAP.

       2.     The Clerk is directed to send Petitioner the Eleventh Circuit’s application form

for leave to file a second or successive § 2255 motion under 28 U.S.C. § 2244(b).

       3.     The Clerk shall terminate any and all pending motions and close this case.

              CERTIFICATE OF APPEALABILITY AND LEAVE TO
                   APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

a district court’s denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue ... only if the

applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

2253(c) (2). To make such a showing, a petitioner “must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong,”

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that “the issues presented were ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle,

463 U.S. 880, 893 n. 4 (1983)). When a district court dismisses a federal habeas petition on

procedural grounds without reaching the underlying constitutional claim, a COA should issue

only when a petitioner shows “that jurists of reason would find it debatable whether the

petition states a valid claim of the denial of a constitutional right and that jurists of reason


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would find it debatable whether the district court was correct in its procedural ruling.” Slack,

529 U.S. at 484. Because the instant § 2255 motion is clearly a second or successive motion,

Petitioner cannot make the requisite showing in these circumstances. Finally, because

Petitioner is not entitled to a COA, he is not entitled to appeal in forma pauperis.

       DONE and ORDERED in Tampa, Florida on August 16, 2013.




SA:sfc
Copies furnished to:
Counsel of Record
Petitioner, pro se




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